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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 21-21214-CIV-COOKE/O’SULLIVAN

  LUCAS ALCALA,

         Plaintiff,
  v.

  NPEE L.C., ANDREW SERAFINE,
  and ERIK AGAZIM,

         Defendants.
                                            /

              ORDER APPROVING SETTLEMENT AGREEMENT AND
         RECOMMENDING THAT THE CASE BE DISMISSED WITH PREJUDICE

         THIS MATTER came before the Court following a settlement conference before

  the undersigned and the Court having conducted a hearing concerning the settlement.

         THE COURT has heard from counsel and considered the terms of the settlement

  agreement, the pertinent portions of the record, and is otherwise fully advised in the

  premises.

         This case involves a claim for unpaid overtime compensation under the Fair

  Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”). In reviewing a settlement of an

  FLSA private claim, a court must “scrutiniz[e] the settlement for fairness,” and

  determine that the settlement is a “fair and reasonable resolution of a bona fide dispute

  over FLSA provisions.” Lynn Food Stores v. United States, 679 F.2d 1350, 1352-53

  (11th Cir. 1982). A settlement entered into in an adversarial context where both sides

  are represented by counsel throughout litigation “is more likely to reflect a reasonable

  compromise of disputed issues.” Id. The district court may approve the settlement in

  order to promote the policy of encouraging settlement of litigation. Id. at 1354.
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         In this case, there is a bona fide factual dispute over the number of hours for

  which the plaintiff was not properly compensated and the plaintiff is receiving additional

  consideration in that the defendants will be dismissing a state court lawsuit which could

  have exposed the plaintiff to damages. The terms of the settlement were announced on

  the record in open Court. The Court has reviewed the terms of the settlement

  agreement including the amount to be received by the plaintiff and the attorney’s fees

  and costs to be received by counsel and finds that the compromise reached by the

  parties is a fair and reasonable resolution of the parties' bona fide disputes.

  Accordingly, it is

         ORDERED AND ADJUDGED that the parties’ settlement agreement (including

  attorney’s fees and costs) is hereby APPROVED. It is further

         RECOMMENDED that this case be dismissed with prejudice and that the Court

  retain jurisdiction until Monday, August 30, 2021 to enforce the terms of the

  settlement.

         The parties shall have one (1) day1 from the date of receipt of this Report and

  Recommendation within which to serve and file written objections, if any, with the

  Honorable Marcia G. Cooke, United States District Court Judge. Failure to file

  objections timely shall bar the parties from a de novo determination by the District

  Judge of an issue covered in the Report and shall bar the parties from attacking on

  appeal unobjected-to factual and legal conclusions contained in the Report except upon

  grounds of plain error if necessary in the interest of justice. See 28 U.S.C. § 636(b)(1);



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             The parties agreed to a shortened, one-day period for filing objections.

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  Harrigan v. Metro Dade Police Dep’t Station #4, 977 F.3d 1185, 1191-1192 (11th Cir.

  2020); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790,

  794 (11th Cir. 1989); 11th Cir. R. 3-1 (2016).

          DONE AND ORDERED in Chambers at Miami, Florida, this 14th day of July,

  2021.



                                    JOHN J. O'SULLIVAN
                                    CHIEF UNITED STATES MAGISTRATE JUDGE




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